Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 1 of 22




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  CARLOS BRITO,

              Plaintiff,
  v.

  TAMIAMI CENTRAL PLAZA LLC,

          Defendant.
  ______________________________________/

                                               COMPLAINT

         Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues TAMIAMI CENTRAL PLAZA LLC,

  (hereinafter “Defendant”), and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.           Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, has a

  residence in Miami, Dade County, Florida, and is otherwise sui juris.
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 2 of 22




          5.        At all times material, Defendant, TAMIAMI CENTRAL PLAZA LLC, owned

  and operated a commercial shopping center 8500 SW 8th Street, Miami, Florida (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

          6.        At all times material, Defendant, TAMIAMI CENTRAL PLAZA LLC, was and

  is a Florida Limited Liability Company, with its principal place of business in Miami, Florida.

          7.        Venue is properly located in the Southern District of Florida because Defendant’s

  Commercial Property is located in Miami-Dade County, Florida, Defendant regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

          8.        Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendant has yet to make its facilities accessible to individuals with

  disabilities.

          9.        Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

  people who are disabled in ways that block them from access and use of Defendant’s businesses

  and properties.

          10.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

          11.        Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and
                                                   2
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 3 of 22




  pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

  from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

  his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

  use of a wheelchair to ambulate.

         12.       Defendant, TAMIAMI CENTRAL PLAZA LLC, owns, operates and oversees the

  Commercial Property, its general parking lot and parking spots.

         13.        The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         14.       The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include a visit to the Commercial Property and

  businesses located within the Commercial Property on or about May 28, 2019, and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

  Property and businesses located located therein. He often visits the Commercial Property and

  businesses located within the Commercial Property in order to avail himself of the goods and

  services offered there, and because it is approximately nine (9) miles from his residence, as well

  as other businesses and restaurants he frequents as a patron. He plans to return to the Commercial

  Property and the businesses located within the Commercial Property within thirty (30) days of the

  filing of this Complaint.

         15.       Plaintiff has a residence nearby in the same County and state as the Commercial

  Property and the businesses located within the Commercial Property, has regularly frequented the

  Defendant’s Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other
                                                    3
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 4 of 22




  businesses that he frequents as a patron, and intends to return to the Commercial Property and

  businesses located within the Commercial Property within thirty (30) days from the filing of this

  Complaint.

         16.       The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         17.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and businesses located within the Commercial Property.

  The barriers to access at Defendant’s Commercial Property, and the businesses located within the

  Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and businesses located within the Commercial Property, and have endangered his safety

  in violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others

  similarly situated.

         18.       Defendant, TAMIAMI CENTRAL PLAZA LLC, owns and operates a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA, 28

  CFR 36.201 (a) and 36.104. Defendant, TAMIAMI CENTRAL PLAZA LLC is responsible for

  complying with the obligations of the ADA. The place of public accommodation that Defendant,

  TAMIAMI CENTRAL PLAZA LLC, owns and operates the Commercial Property Business

  located 8500 SW 8th Street, Miami, Florida.

         19.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing
                                                  4
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 5 of 22




  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Count I of this Complaint. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses located within the Commercial Property, in violation of the

  ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not only

  to avail himself of the goods and services available at the Commercial Property, and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.


         20.       Defendant, TAMIAMI CENTRAL PLAZA LLC, as landlord and owner of the

  Commercial Property Business, is responsible for all ADA violations listed in Count I of this

  Complaint.

         21.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Count I of this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and businesses within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and businesses within the Commercial Property, not only

  to avail himself of the goods and services available at the Commercial Property and businesses

                                                   5
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 6 of 22




   located within the Commercial Property, but to assure himself that the Commercial Property, and

   businesses located within the Commercial Property are in compliance with the ADA, so that he

   and others similarly situated will have full and equal enjoyment of the Commercial Property, and

   businesses located within the Commercial Property without fear of discrimination.

          22.       Defendant has discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property, and businesses located within the

   Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                  COUNT I – ADA VIOLATIONS

          23.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 22 above as though fully set forth herein.

          24.       Defendant, TAMIAMI CENTRAL PLAZA LLC, has discriminated, and

   continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have

   accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer

   employees and gross receipts of $500,000 or less).         A list of the violations that Plaintiff

   encountered during his visit to the Commercial Property, include but are not limited to, the

   following:

   Common Areas

          A. Parking

 i.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

      located on an excessive slope. Violation: There are accessible parking spaces located on an



                                                    6
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 7 of 22




       excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

ii.    The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

       aisles are located on an excessive slope. Violation: There are accessible parking space access

       aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

       of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   There are accessible parking space signs that are obstructed from view due to branches.

       Violation: Accessible elements are not properly maintained violating 28 CFR 36.211, whose

       resolution is readily achievable.

          B. Entrance Access and Path of Travel

  i.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

ii.    The Plaintiff had difficulty using ramps, as they are located on an excessive slope. Violation:

       Ramps at the facility contain excessive slopes, violating Section 4.8.2 of the ADAAG and

       Section 405.2 of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.
                                                      7
 Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 8 of 22




 iv.    The Plaintiff could not enter tenant spaces without assistance, as the required level landing is

        not provided. Violation: A level landing that is 60 inches minimum perpendicular to the

        doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a) of

        the ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is readily

        achievable.

  v.    There are protruding objects on the path of travel at the facility that present a hazard of

        colliding with them, violating Section 4.4.2 of ADAAG and Section 307.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

 vi.    The Plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

        Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

        of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

        achievable.

vii.    The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

        Violation: There are inaccessible routes between sections of the facility. These are violations

        of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

        303, 402 and 403, whose resolution is readily achievable.

viii.   The Plaintiff could not enter each tenant space. Violation: There are tenant spaces that do not

        have an accessible path of travel with access or egress to people in wheelchairs, violating

        Sections 4.3.2(2) and 4.14.1 of the ADAAG and Sections 206.2.2 and 207 of the 2010 ADA

        Standards.

 ix.    The Plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

        Violation: There are curb ramps at the facility that contain excessive slopes, violating Section
                                                       8
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 9 of 22




       4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 x.    The Plaintiff had difficulty on the path of travel at the facility, as ramps do not have compliant

       handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the 2010 ADA

       Standards, whose resolution is readily achievable.

          C. Access to Goods and Services

  i.   There are drinking fountains that don’t provide access to those who have difficulty bending or

       stooping. Violation: There are drinking fountains that are in violation of Section 4.1.3(10) of

       the ADAAG and Sections 211.2 & 602.7 of the 2010 ADA Standards, whose resolution is

       readily achievable.

          D. Public Restrooms

  i.   The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

       clear floor space. Violation: The required clear floor space is not provided next to the toilet,

       violating Section 4.16.2 and Figure 28 of the ADAAG, 28 CFR 36.211, and Section 604.3 of

       the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iii.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5
                                                     9
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 10 of 22




       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

iv.    The Plaintiff was exposed to a cutting/burning hazard because the lavatory outside the

       accessible toilet compartment has pipes that are not wrapped. Violation: The lavatory pipes are

       not fully wrapped or maintained outside the accessible toilet compartment violating Section

       4.19.4 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 v.    The Plaintiff could not transfer to the toilet without assistance in the accessible toilet

       compartment, as objects are mounted less than 1 1/2” below a grab bar, obstructing its use.

       Violation: The grab bars do not comply with the requirements prescribed in Sections 4.17.6

       and 4.26 of the ADAAG and Section 609.3 of the 2010 ADA Standards, whose resolution is

       readily achievable.

vi.    The Plaintiff had difficulty using the urinals as the rims are mounted too high. Violation: There

       are urinals provided for public use that do not comply with the standards set forth in Section

       4.18.2 of the ADAAG and Section 605.2 of the 2010 ADA Standards, whose resolution is

       readily achievable.

vii.   The Plaintiff could not use the lavatories outside the accessible toilet compartment without

       assistance, as the required knee & toe clearance width are not provided. Violation: There are

       lavatories outside accessible toilet compartments in public restrooms without the required

       clearances provided, violating the requirements in Section 4.19.2 and Figure 31 of the ADAAG

       and Sections 213.3.4, 306.2.5, 306.3.5, & 606.2 of the 2010 ADA Standards, whose resolution

       is readily achievable.
                                                    10
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 11 of 22




viii.   The Plaintiff could not exit the restroom without assistance, as the required maneuvering

        clearance was not provided due to the location of a trashcan. Violation: The restroom door

        does not provide the required latch side clearance due to a lack of maintenance violating

        Section 4.13.6 of the ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA

        Standards, whose resolution is readily achievable.

     La Suiza Bakery

           A. Access to Goods and Services

   i.   There is seating provided at the facility that does not comply with the standards prescribed in

        Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

        resolution is readily achievable.

     Giovanni’s Restaurant

           A. Access to Goods and Services

   i.   There is seating provided at the facility that does not comply with the standards prescribed in

        Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

        resolution is readily achievable.

           B. Entrance Access and Path of Travel

   i.   The Plaintiff could not traverse through areas of the restaurant, as the required 36” path isn’t

        provided due to objects that obstruct the path of travel. Violation: There isn’t a continuous path

        of travel connecting all essential elements of the restaurant violating Sections 4.2.1 & 4.3.3 of

        the ADAAG, and Section 403.5.1 of the 2010 ADA Standards, whose resolution is readily

        achievable.

           C. Public Restrooms
                                                     11
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 12 of 22




  i.   The Plaintiff had difficulty using the doorknob and the locking mechanism on the restroom

       door without assistance, as they require tight grasping. Violation: The restroom door has non-

       compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG

       and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

       achievable.

 ii.   The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

       provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

       and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   The Plaintiff could not use the lavatory without assistance, as it is mounted too high. Violation:

       There are lavatories in public restrooms with the counter surface mounted too high, violating

       the requirements in Section 4.19.2 and Figure 31 of the ADAAG and Section 606.3 of the 2010

       ADA Standards, whose resolution is readily achievable.

iv.    The Plaintiff could not use the paper towel dispenser without assistance, as it is mounted too

       high. Violation: There are dispensers provided for public use in the restroom, with controls

       outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections

       308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 v.    The Plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

       the wide area. Violation: The flush valve is not mounted on the compliant side in violation of

       Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose resolution

       is readily achievable.

vi.    The Plaintiff could not transfer to the toilet without assistance, as the side grab bar is not at the

       required location and is not the required length. Violation: The grab bars do not comply with
                                                      12
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 13 of 22




          the requirements prescribed in Section 4.16.4 & Figure 29 of the ADAAG and Section 604.5.1

          of the 2010 ADA Standards, whose resolution is readily achievable.

vii.      The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

          1½“ below a grab bar obstructing its use. Violation: The grab bars do not comply with the

          requirements prescribed in Sections 4.16.4 & 4.26.2 of the ADAAG and Section and 609.3 of

          the 2010 ADA Standards, whose resolution is readily achievable.

viii.     The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

          wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

          4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

 ix.      There are permanently designated interior spaces without proper signage, violating Section

          4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

          whose resolution is readily achievable.

       El Rinconcito Latino

             A. Entrance Access and Path of Travel

   i.     The Plaintiff could not traverse through areas of the restaurant, as the required 36” path isn’t

          provided due to objects that obstruct the path of travel. Violation: There isn’t a continuous path

          of travel connecting all essential elements of the restaurant violating Sections 4.2.1 & 4.3.3 of

          the ADAAG, and Section 403.5.1 of the 2010 ADA Standards, whose resolution is readily

          achievable.

             B. Public Restrooms



                                                        13
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 14 of 22




  i.   The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

       not self-closing and does not have compliant door hardware. Violation: The accessible toilet

       compartment door does not provide hardware and features that comply with Sections 4.17.5

       and 4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards,

       whose resolution is readily achievable.

 ii.   The Plaintiff could not enter the accessible toilet compartment without assistance, as the

       required maneuvering clearance is not provided. Violation: The accessible toilet compartment

       does not provide the required latch side clearance at the door violating Sections 4.13.6 and

       4.17.5 of the ADAAG and Sections 404.2.4 and 604.8.1.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

iii.   The Plaintiff could not use the toilet paper dispenser without assistance, as it is not mounted at

       the required location. Violation: The toilet paper dispenser in the accessible toilet compartment

       is not mounted in accordance with Section 4.17.6 and Figure 30(d) of the ADAAG and Section

       604.7 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.    The Plaintiff could not transfer to the toilet without assistance, as the grab bars are not mounted

       at the required height, the side grab bar is not mounted at the required location, and the side

       grab bar is not the required length. Violation: The grab bars in the accessible toilet

       compartment do not comply with the requirements prescribed in Sections 4.17.6 of the

       ADAAG and Sections 604.5.1 & 609.4 of the 2010 ADA Standards, whose resolution is

       readily achievable.

 v.    The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

       clear floor space. Violation: The required clear floor space is not provided next to the toilet,
                                                     14
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 15 of 22




          violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

          ADA Standards, whose resolution is readily achievable.

 vi.      The Plaintiff could not use the toilet compartment without assistance, as one of the required

          size is not provided: Violation: The toilet compartments provided for public use at the facility

          are in violation of Section 4.17.3 and Figure 30(a) of the ADAAG and Section 604.8.1 of the

          2010 ADA Standards, whose resolution is readily achievable.

vii.      The Plaintiff could not use the coat hook without assistance, as it is mounted too high.

          Violation: There are coat hooks provided for public use in the restroom, outside the reach

          ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the ADAAG and Sections 308 and

          604.8.3 of the 2010 ADA Standards, whose resolution is readily achievable.

viii.     The Plaintiff could not use the lavatory outside the accessible toilet compartment without

          assistance, as the required knee and toe clearance is not provided. Violation: There are

          lavatories outside the accessible toilet compartment that don’t provide the required clearances

          violating Section 4.19.2 & Figure 31 of the ADAAG and Sections 213.3.4 & 606.5 of the 2010

          ADA Standards, whose resolution is readily achievable.

 ix.      The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

          provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

          and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

       El Toro Loco

             A. Access to Goods and Services

   i.     The Plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There are

          bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the
                                                      15
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 16 of 22




       ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

 ii.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

          B. Public Restrooms

  i.   There are permanently designated interior spaces without proper signage, violating Section

       4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

       whose resolution is readily achievable.

 ii.   The Plaintiff could not transfer to the toilet without assistance, as the rear grab bar is not the

       required length, the side grab bar is not mounted at the required location, and the side grab bar

       is not the required length. Violation: The grab bars do not comply with the requirements

       prescribed in Sections 4.16.4 of the ADAAG and Sections 604.5 & 609.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

iii.   The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

       clear floor space. Violation: The required clear floor space is not provided next to the toilet,

       violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

       ADA Standards, whose resolution is readily achievable.

iv.    The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.
                                                    16
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 17 of 22




  v.     The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

         provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

         and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 vi.     The Plaintiff could not use the lavatory without assistance, as the required knee clearance is

         not provided. Violation: There are lavatories in public restrooms without the required

         clearances provided, violating the requirements in Section 4.19.2 and Figure 31 of the ADAAG

         and Sections 306 and 606.2 of the 2010 ADA Standards, whose resolution is readily

         achievable.

vii.     The Plaintiff could not flush the toilet without assistance, as the flush valve is not mounted on

         the wide area. Violation: The flush valve is not mounted on the compliant side in violation of

         Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards, whose resolution

         is readily achievable.

viii.    The Plaintiff could not exit the restroom without assistance, as the required maneuvering

         clearance is not provided on the push side. Violation: The restroom door does not provide the

         required latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of

         the 2010 ADA Standards, whose resolution is readily achievable.

       Subway

            A. Public Restrooms



   i.    There are permanently designated interior spaces without proper signage, violating Section

         4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

         whose resolution is readily achievable.
                                                      17
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 18 of 22




 ii.     The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

         clear floor space. Violation: The required clear floor space is not provided next to the toilet,

         violating Section 4.16.2 and Figure 28 of the ADAAG, 28 CFR 36.211, and Section 604.3 of

         the 2010 ADA Standards, whose resolution is readily achievable.

iii.     The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

         4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

         readily achievable.

iv.      The Plaintiff had difficulty using the toilet paper due to the roll not being located within a

         dispenser. Violation: Elements in the restroom are not readily accessible and usable by persons

         with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.


                                   RELIEF SOUGHT AND THE BASIS

             25.      The discriminatory violations described in Count I are not an exclusive list of the

      Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s places of public

      accommodation in order to photograph and measure all of the discriminatory acts violating the

      ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further requests

      to inspect any and all barriers to access that were concealed by virtue of the barriers' presence,

      which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal enjoyment of

      the Commercial Business and businesses located within the Commercial Property; Plaintiff

      requests to be physically present at such inspection in conjunction with Rule 34 and timely notice.

      A complete list of the Subject Premises’ ADA violations, and the remedial measures necessary to


                                                      18
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 19 of 22




  remove same, will require an on-site inspection by Plaintiff’s representatives pursuant to Federal

  Rule of Civil Procedure 34.

         26.          The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendant, Defendant’s buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendant because of the Defendant’s ADA violations as set forth above.              The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         27.          Defendant has discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.
                                                     19
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 20 of 22




         28.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

  all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

  entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

  U.S.C. § 12205 and 28 CFR 36.505.

         29.        A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, the Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

  Defendant’s place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         30.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         31.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendant operate its

  businesses, located at and/or within the commercial property located at 1598 W 37th Street,

  Florida, the exterior areas, and the common exterior areas of the Commercial Property and

  businesses located within the Commercial Property, to make those facilities readily accessible and

  useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such
                                                    20
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 21 of 22




  time as the Defendant cure the violations of the ADA.

         WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

  Court issue (i) a Declaratory Judgment determining Defendant at the commencement of the subject

  lawsuit were and are in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. §

  12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all readily

  achievable alterations to the facilities; or to make such facilities readily accessible to and usable

  by individuals with disabilities to the extent required by the ADA; and to require Defendant to

  make reasonable modifications in policies, practices or procedures, when such modifications are

  necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.


  Dated: September 30, 2019
                                                GARCIA-MENOCAL & PEREZ, P.L.

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                                                   21
Case 1:19-cv-24039-FAM Document 1 Entered on FLSD Docket 09/30/2019 Page 22 of 22




                                     By: ___/s/_Anthony J. Perez________
                                            ANTHONY J. PEREZ
                                            Florida Bar No.: 535451
                                            BEVERLY VIRUES
                                            Florida Bar No.: 123713




                                       22
